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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


 SCOTT STERLING, Individually and            Case No.
 on Behalf of All Others Similarly
 Situated,
                                             CLASS ACTION COMPLAINT
                              Plaintiff,

                    v.                       JURY TRIAL DEMANDED

 IRIS ENERGY LIMITED, DANIEL
 ROBERTS, WILLIAM ROBERTS,
 BELINDA NUCIFORA, DAVID
 BARTHOLOMEW, CHRISTOPHER
 GUZOWSKI, and MICHAEL
 ALFRED,

                              Defendants.
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      Plaintiff Scott Sterling (“Plaintiff”), individually and on behalf of all others

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint

against Defendants, alleges the following based upon personal knowledge as to

Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters,

based upon, inter alia, the investigation conducted by and through Plaintiff’s

attorneys, which included, among other things, a review of the Defendants’ public

documents, conference calls and announcements made by Defendants, United States

(“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press

releases published by and regarding Iris Energy Limited (“Iris” or the “Company”),

analysts’ reports and advisories about the Company, and information readily

obtainable on the Internet. Plaintiff believes that substantial, additional evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity

for discovery.

                           NATURE OF THE ACTION

      1.     This is a federal securities class action on behalf of a class consisting

of all persons and entities other than Defendants that purchased or otherwise

acquired: (a) Iris ordinary shares pursuant and/or traceable to the Offering

Documents (defined below) issued in connection with the Company’s initial public

offering conducted on or about November 17, 2021 (the “IPO” or “Offering”);

and/or (b) Iris securities between November 17, 2021 and November 1, 2022, both



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dates inclusive (the “Class Period”). Plaintiff pursues claims against the Defendants

under the Securities Act of 1933 (the “Securities Act”) and the Securities Exchange

Act of 1934 (the “Exchange Act”).

      2.     Iris touts itself as a leading owner and operator of institutional-grade,

highly efficient, proprietary Bitcoin mining data centers powered by 100%

renewable energy.

      3.     Iris’s Bitcoin mining operations purportedly generate revenue by

earning Bitcoin through a combination of block rewards and transaction fees from

the operation of specialized computing equipment called “miners” or “Bitcoin

miners” and exchanging these Bitcoin for fiat currencies such as U.S. dollars

(“USD”) or Canadian dollars (“CAD”) on a daily basis.

      4.     Iris has three wholly-owned special purpose vehicles, referred to as

“Non-Recourse SPV 1”, “Non-Recourse SPV 2”, and “Non-Recourse SPV 3”

(collectively, the “Non-Recourse SPVs”), each of which was incorporated for the

specific purpose of financing certain of the Bitcoin miners operated by the Company.

      5.     On October 25, 2021, Iris filed a registration statement on Form F-1

with the SEC in connection with the IPO, which, after several amendments, was

declared effective by the SEC on November 16, 2021 (the “Registration Statement”).

      6.     On or about November 17, 2021, Iris conducted the IPO, issuing

approximately 8.27 million of its ordinary shares to the public at the Offering price



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of $28 per ordinary share for approximate proceeds to the Company of $215 million,

before expenses, and after applicable underwriting discounts and commissions.

      7.     On November 18, 2021, Iris filed a prospectus on Form 424B4 with the

SEC in connection with the IPO, which incorporated and formed part of the

Registration Statement (the “Prospectus” and, together with the Registration

Statement, the “Offering Documents”).

      8.     The Offering Documents were negligently prepared and, as a result,

contained untrue statements of material fact or omitted to state other facts necessary

to make the statements made not misleading and were not prepared in accordance

with the rules and regulations governing their preparation. Additionally, throughout

the Class Period, Defendants made materially false and misleading statements

regarding the Company’s business, operations, and prospects. Specifically, the

Offering Documents and Defendants made false and/or misleading statements

and/or failed to disclose that: (i) certain of Iris’s Bitcoin miners, owned through its

Non-Recourse SPVs, were unlikely to produce sufficient cash flow to service their

respective debt financing obligations; (ii) accordingly, Iris’s use of equipment

financing agreements to procure Bitcoin miners was not as sustainable as Defendants

had represented; (iii) the foregoing was likely to have a material negative impact on

the Company’s business, operations, and financial condition; and (iv) as a result, the

Offering Documents and Defendants’ public statements throughout the Class Period



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were materially false and/or misleading and failed to state information required to

be stated therein.

      9.     On November 2, 2022, Iris issued a press release disclosing, among

other things, that “[c]ertain equipment (i.e., Bitcoin miners) owned by [Non-

Recourse SPV 2 and Non-Recourse SPV 3] currently produce insufficient cash flow

to service their respective debt financing obligations, and have a current market

value well below the principal amount of the relevant loans” and that “[r]estructuring

discussions with the lender remain ongoing.”

      10.    On this news, Iris’s ordinary share price fell $0.51 per share, or 15.04%,

to close at $2.88 per share on November 2, 2022—a nearly 90% decline from the

Offering price.

      11.    As of the time this Complaint was filed, Iris’s ordinary shares continue

to trade significantly below the $28 per share Offering price, damaging investors.

      12.    As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.

                         JURISDICTION AND VENUE

      13.    The claims asserted herein arise under and pursuant to Sections 11 and

15 of the Securities Act (15 U.S.C. §§ 77k and 77o), and Sections 10(b) and 20(a)




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of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

thereunder by the SEC (17 C.F.R. § 240.10b-5).

      14.    This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331, Section 22 of the Securities Act (15 U.S.C. § 77v),

and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

      15.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b)

and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Pursuant to Iris’s most

recent annual report on Form 20-F, as of June 30, 2022, there were 54,982,916 of

the Company’s ordinary shares outstanding. Iris’s ordinary shares trade on the

Nasdaq Global Select Market (“NASDAQ”). Accordingly, there are presumably

hundreds, if not thousands, of investors in Iris’s ordinary shares located within the

U.S., some of whom undoubtedly reside in this Judicial District.

      16.    In connection with the acts alleged in this Complaint, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the mails, interstate telephone communications, and the

facilities of the national securities markets.

                                       PARTIES

      17.    Plaintiff, as set forth in the attached Certification, purchased or

otherwise acquired Iris ordinary shares pursuant and/or traceable to the Offering

Documents issued in connection with the IPO, and/or Iris securities during the Class



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Period, and suffered damages as a result of the federal securities law violations and

false and/or misleading statements and/or material omissions alleged herein.

      18.    Defendant Iris is organized under the laws of Australia with principal

executive offices located at Level 12, 44 Market Street, Sydney, NSW 2000

Australia. The Company’s ordinary shares trade in an efficient market on the

NASDAQ under the ticker symbol “IREN”.

      19.    Defendant Daniel Roberts (“D. Roberts”) has served as a Co-Chief

Executive Officer (“Co-CEO”) and Director of the Company at all relevant times.

D. Roberts signed or authorized the signing of the Registration Statement filed with

the SEC.

      20.    Defendant William Roberts (“W. Roberts”) has served as a Co-CEO

and Director of the Company at all relevant times. W. Roberts signed or authorized

the signing of the Registration Statement filed with the SEC.

      21.    Defendant Belinda Nucifora (“Nucifora”) has served as Iris’s Chief

Financial Officer since May 16, 2022.

      22.    Defendants D. Roberts, W. Roberts, and Nucifora are sometimes

referred to herein collectively as the “Exchange Act Individual Defendants.”

      23.    The Exchange Act Individual Defendants possessed the power and

authority to control the contents of Iris’s SEC filings, press releases, and other

market communications. The Exchange Act Individual Defendants were provided



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with copies of Iris’s SEC filings and press releases alleged herein to be misleading

prior to or shortly after their issuance and had the ability and opportunity to prevent

their issuance or to cause them to be corrected. Because of their positions with Iris,

and their access to material information available to them but not to the public, the

Exchange Act Individual Defendants knew that the adverse facts specified herein

had not been disclosed to and were being concealed from the public, and that the

positive representations being made were then materially false and misleading. The

Exchange Act Individual Defendants are liable for the false statements and

omissions pleaded herein.

      24.    Iris and the Exchange Act Individual Defendants are sometimes

referred to herein collectively as the “Exchange Act Defendants.”

      25.    Defendant David Bartholomew (“Bartholomew”) has served as the

Chair of Iris at all relevant times. Bartholomew signed or authorized the signing of

the Registration Statement filed with the SEC.

      26.    Defendant Christopher Guzowski (“Guzowski”) has served as a

Director of Iris at all relevant times. Guzowski signed or authorized the signing of

the Registration Statement filed with the SEC.

      27.    Defendant Michael Alfred (“Alfred”) has served as a Director of Iris at

all relevant times. Alfred signed or authorized the signing of the Registration

Statement filed with the SEC.



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      28.    Defendants D. Roberts, W. Roberts, Bartholomew, Guzowski, and

Alfred are sometimes referred to herein collectively as the “Securities Act Individual

Defendants.”

      29.    As directors, executive officers, and/or major shareholders of the

Company, the Securities Act Individual Defendants participated in the solicitation

and sale of Iris ordinary shares in the IPO for their own benefit and the benefit of the

Company. The Securities Act Individual Defendants were key members of the IPO

working group and executives of the Company who pitched investors to purchase

the shares sold in the IPO.

      30.    Iris and the Securities Act Individual Defendants are sometimes

referred to herein collectively as the “Securities Act Defendants.”

      31.    The Exchange Act Defendants and Securities Act Defendants are

sometimes collectively, in whole or in part, referred to herein as “Defendants.”

                        SUBSTANTIVE ALLEGATIONS

                                     Background

      32.    Iris touts itself as a leading owner and operator of institutional-grade,

highly efficient, proprietary Bitcoin mining data centers powered by 100%

renewable energy.

      33.    Iris’s Bitcoin mining operations purportedly generate revenue by

earning Bitcoin through a combination of block rewards and transaction fees from



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 the operation of specialized computing equipment called “miners” or “Bitcoin

 miners” and exchanging these Bitcoin for fiat currencies such as USD or CAD on a

 daily basis.

       34.      Iris has three wholly-owned special purpose vehicles, referred to as

 “Non-Recourse SPV 1”, “Non-Recourse SPV 2”, and “Non-Recourse SPV 3”, each

 of which was incorporated for the specific purpose of financing certain of the Bitcoin

 miners operated by the Company.

       35.      On October 25, 2021, Iris filed the Registration Statement on Form F-

 1 with the SEC in connection with the IPO, which, after several amendments, was

 declared effective by the SEC on November 16, 2021.

       36.      On or about November 17, 2021, Iris conducted the IPO, issuing

 approximately 8.27 million of its ordinary shares to the public at the Offering price

 of $28 per ordinary share for approximate proceeds to the Company of $215 million,

 before expenses, and after applicable underwriting discounts and commissions.

       37.      On November 18, 2021, Iris filed the Prospectus on Form 424B4 with

 the SEC in connection with the IPO, which incorporated and formed part of the

 Registration Statement.

  Materially False and Misleading Statements Issued in the Offering Documents

       38.      With respect to Iris’s use of equipment financing agreements to procure

 Bitcoin miners, the Offering Documents stated, in relevant part:



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       We are party to equipment finance and security agreements,
       denominated in US dollars, pursuant to which an equipment financier
       has agreed to finance part of the purchase of various miners that have
       been delivered to us or will be delivered to us. As of September 30,
       2021, the aggregate amount of the loan facilities was $53.9 million, and
       the aggregate amount of funds borrowed under these loans was $22.9
       million. The loans carry an annual interest rate of 12% and are to repaid
       through monthly payments of interest and principal through September
       2023. The agreements include customary restrictions and outstanding
       borrowings are secured by the financed mining units purchased with
       the loans.

       39.    With respect to the capacity and overall quality of the Bitcoin miners

 that Iris would procure, at least in part, through its use of equipment financing

 agreements, the Offering Documents stated, inter alia:

       As of September 30, 2021, we have entered into binding hardware
       purchase contracts with Bitmain Technologies Limited, a leading
       producer of Bitcoin mining hardware, to acquire new generation
       miners, Antminer S19j and Antminer S19j Pro, with an aggregate
       nameplate hashrate capacity of 14.5 EH/s and deliveries commencing
       in October 2021 and ending in September 2023, which is expected to
       increase our operating and contracted nameplate hashrate capacity to
       15.2 EH/s and result in an average nameplate hardware efficiency of
       approximately 30 W/TH.

       40.    With respect to the purported efficiency and overall operational quality

 of Iris’s Bitcoin mining operations, the Offering Documents stated, inter alia:

       As both the owner and operator of our hardware and infrastructure, we
       are directly incentivized to optimize each component of our value
       chain. Learnings and efficiency gains can then be applied across our
       entire portfolio.

       In addition, we believe that we are able to identify and respond to
       operational issues in a more efficient and timely manner than would be



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       the case under an outsourced hosted model. We believe this allows us
       to maximize operating performance as well as hardware life.

       While outsourcing infrastructure and operations and maintenance to
       third-parties may result in near-term returns and scale, short-term
       contractual arrangements may result in increased counterparty risk (e.g.
       potential non-performance, delays and disputes) and renewal risk.

       41.    The statements referenced in ¶¶ 38-40 were materially false and

 misleading because the Offering Documents were negligently prepared and, as a

 result, contained untrue statements of material fact or omitted to state other facts

 necessary to make the statements made not misleading and were not prepared in

 accordance with the rules and regulations governing their preparation. Specifically,

 the Offering Documents made false and/or misleading statements and/or failed to

 disclose that: (i) certain of Iris’s Bitcoin miners, owned through its Non-Recourse

 SPVs, were unlikely to produce sufficient cash flow to service their respective debt

 financing obligations; (ii) accordingly, Iris’s use of equipment financing agreements

 to procure Bitcoin miners was not as sustainable as Defendants had represented; (iii)

 the foregoing was likely to have a material negative impact on the Company’s

 business, operations, and financial condition; and (iv) as a result, the Offering

 Documents were materially false and/or misleading and failed to state information

 required to be stated therein.




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   Materially False and Misleading Statements Issued During the Class Period

       42.   The Class Period begins on November 17, 2021, when Iris’s ordinary

 shares began publicly trading on the NASDAQ pursuant to the materially false or

 misleading statements or omissions contained in the Offering Documents, as

 referenced in ¶¶ 38-40, supra.

       43.   On February 9, 2022, Iris issued a press release reporting the

 Company’s second quarter 2022 results for the period ended December 31, 2021.

 That press release quoted Defendant D. Roberts, who stated, in relevant part, that

 Iris “is on track to be one of the largest listed Bitcoin miners with 15 EH/s3 of

 hardware secured[.]”

       44.   Also on February 9, 2022, Iris filed a report of foreign issuer on Form

 6-K with the SEC, appended to which were the Company’s Unaudited Interim

 Consolidated Financial Statements for the Three and Six Months ended December

 31, 2021 (the “2Q22 6-K”). With respect to the Company’s equipment financing

 agreements to procure Bitcoin miners, the 2Q22 6-K stated, in relevant part:

       The [Company] has entered into equipment finance and security
       agreements pursuant to which an equipment financier has agreed to
       finance the purchase of various mining hardware that have been
       delivered or yet to be delivered. These facilities carry an annual
       contractual interest rate of 12% and are denominated in United States
       dollars. The facilities are repaid through blended monthly payments of
       interest and principal with the final payment due to the financier on 25
       September 2023.




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       45.    The 2Q22 6-K also purported to warn that Iris’s “ability . . . to continue

 as a going concern depends upon the [Company] maintaining sustained positive free

 operating cash flows and securing additional capital to fund the contracted mining

 hardware purchases and infrastructure spend, as part of its growth plan[,]” while

 simultaneously assuring investors that “[t]he strategy to mitigate these risks and

 uncertainties is to execute a business plan aimed at continued operational efficiency,

 revenue growth, improving overall mining profit, managing operating and capital

 expenditure and working capital requirements, and securing additional financing, as

 needed.” The Company’s assurances regarding the strength of its business plan

 effectively negated any meaningful disclosure of risk that its cautionary statements

 might have otherwise provided.

       46.    Similarly, the 2Q22 6-K assured investors that Iris’s “ability to continue

 as a going concern and meet its debts and commitments as they fall due, are . . .

 dependent upon a number of factors which have been considered in preparing a cash

 flow forecast over the next 12 months to consider the going concern of the

 [Company] and the ability of the [Company] to achieve its growth plans[,]”

 including the following “key assumptions”:

        the Bitcoin price remaining at a level higher than prior financial
         years and a lag in global hashrate, thereby contributing to sustained
         forecast positive free cash flow; and

        the [Company]’s contracted mining hardware purchases and
         infrastructure spend will be funded by a combination of available

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             cash (A$351.7 million as at 31 December 2021), operating cashflow
             and additional financing. Of the total contracted mining hardware
             purchases, US$326.7 million (A$450 million) is due to be paid
             before 31 December 2022, with a further US$172.4 million
             (A$237.5 million) due in 2023 giving a total contracted mining
             hardware purchases of US$449.1 million (A$687.5 million)
             (including estimated shipping and provincial sales tax) as at 31
             December 2021.

       47.      On March 28, 2022, Iris issued a press release announcing the closing

 of a $71 million equipment financing facility with a Bitcoin company called

 NYDIG. That press release highlighted that this was the “[t]hird facility secured

 with NYDIG, further cementing [a] long-term partnership”; that the facility was

 “[s]ecured by 19,800 Bitmain S19j Pro miners”; and that “~10 EH/s of the

 Company’s total stock of contracted miners remain unencumbered, providing

 substantial balance sheet flexibility to secure additional non-dilutive funding in due

 course.”

       48.      The same March 28, 2022 press release also quoted Defendant D.

 Roberts, who stated, in relevant part:

       “We are delighted to again partner with an industry leader such as
       NYDIG who have been a long-standing supporter of our business. This
       is our third equipment financing facility together and we look forward
       to formalizing additional loan facilities as miners continue to be
       delivered and installed. This transaction further demonstrates the
       capital structure benefits in having a strong balance sheet and owning
       and controlling our own infrastructure.”

       “With substantial equity raised to date, meaningful operational
       cashflow and a 15 EH/s installation schedule which remains on track,
       we are pursuing a number of other sources of non-dilutive funding to

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       continue the Company’s rapid growth trajectory and delivery of
       shareholder value, noting that we as management continue to hold
       approximately one quarter of the shares on issue.”

       49.    On May 11, 2022, Iris filed a report of foreign issuer on Form 6-K with

 the SEC, appended to which were the Company’s Unaudited Interim Consolidated

 Financial Statements for the Three and Nine Months ended March 31, 2022 (the

 “3Q22 6-K”). With respect to the Company’s equipment financing agreements to

 procure Bitcoin miners, the 3Q22 6-K stated, in relevant part:

       During the year ended 30 June 2021, the [Company] entered into
       equipment finance and security agreements pursuant to which an
       equipment financier agreed to finance the purchase of various mining
       hardware that have been delivered or yet to be delivered. These
       facilities carry an annual contractual interest rate of 12% and are
       denominated in United States dollars. The facilities are repaid through
       blended monthly payments of interest and principal with the final
       payment due to the financier on 25 September 2023.

       50.    The 3Q22 6-K also contained substantively the same statements as

 referenced in ¶ 45, supra, purporting to warn that Iris’s ability to continue as a going

 concern depends upon, among other things, maintaining sustained positive free

 operating cash flows and securing additional capital to fund contracted mining

 hardware purchases, while simultaneously assuring investors regarding the

 Company’s strategy to mitigate these risks through, among other things, continued

 operational efficiency and securing additional financing.

       51.    In addition, the 3Q22 6-K contained substantively the same statements

 as referenced in ¶ 46, supra, regarding Iris’s ability to meet its debts and

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 commitments as they fall due, while providing the following updated key

 assumption:

        the [Company]’s contracted mining hardware purchases and
         infrastructure spend will be funded by a combination of available
         cash (A$210.7 million as at 31 March 2022), operating cashflow and
         additional financing (including A$31.4 million financing committed
         to the [Company] which as of 31 March 2022 remained undrawn).
         Of the total contracted mining hardware purchases, US$285.7
         million (A$381.9 million) is due to be paid before 31 March 2023,
         with a further US$90.5 million (A$120.9 million) due beyond 31
         March 2023 giving a total contracted mining hardware purchases of
         US$376.2 million (A$502.8 million) (including estimated shipping
         and provincial sales tax) as at 31 March 2022.

       52.     On June 7, 2022, Iris issued a press release announcing an investor

 update for May 2022. That press release advised, inter alia, that “[m]ultiple debt

 processes remain underway, with discussions involving various aspects of the capital

 structure, for example, equipment financing similar to the recent $71m NYDIG

 facility (1.98 EH/s of miners secured),” while simultaneously assuring investors that

 “[t]he Company remains focused on prudently assessing various options and

 ensuring that any decisions consider an appropriate long-term capital structure for

 the Company.”

       53.     In addition, the same June 7, 2022 press release downplayed the

 severity of debt from equipment financing agreements by highlighting in its

 “Business summary” that there was “[n]il corporate-level debt”, while




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 acknowledging in a footnote that “[e]quipment financing is limited recourse

 financing within wholly owned subsidiaries of the Company.”

       54.    On June 21, 2022, Iris issued a press release providing an updated

 operating and capital expenditure guidance, stating, in relevant part:

       The Company has explored multiple financing options presented to it
       in recent months, and has determined that maintaining balance sheet
       flexibility is prudent having regard to market conditions and available
       financing terms.

       As market conditions have deteriorated, the Company continues to
       believe this is the prudent approach. As a result, the Company expects
       to defer major additional capital expenditure until the current market
       uncertainty subsides and financing terms improve. The Company will
       continue to monitor funding markets closely, and if conditions become
       favorable, the Company expects to explore raising additional capital.

       55.    The same June 21, 2022 press release also continued to downplay the

 severity of debt from equipment financing agreements by stating that “[t]he

 Company currently has no corporate debt on its balance sheet”, while

 acknowledging in a footnote that “[e]xisting equipment financing is limited recourse

 financing within wholly owned subsidiaries of the Company.”

       56.    On September 13, 2022, Iris issued a press release reporting the

 Company’s full year 2022 results for the period ended June 30, 2022. That press

 release quoted Defendant D. Roberts, who represented, in relevant part: “Looking

 forward, the recent volatility in the Bitcoin price and related industry challenges

 reaffirms our confidence in our long-term, vertically integrated strategy. We remain



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 focused on building a multi-decade, institutional grade, infrastructure platform while

 maintaining balance sheet discipline.”

       57.    The same September 13, 2022 press release also continued to downplay

 the severity of debt from equipment financing agreements, stating, in relevant part,

 that “[c]ash and cash equivalents as of June 30, 2022 was $110.0 million, with no

 corporate debt held by the Company on its balance sheet”, while acknowledging in

 a footnote that “[e]xisting equipment financing ($109.4 million as of June 30, 2022)

 is limited recourse financing within wholly owned subsidiaries of the Company.”

       58.    Also on September 13, 2022, Iris filed an annual report on Form 20-F

 with the SEC, reporting the Company’s financial and operational results for the

 Company’s fiscal fourth quarter and year ended June 30, 2022 (the “2022 20-F”).

 That filing contained substantively the same statements as referenced in ¶ 40, supra,

 regarding the purported efficiency and overall operational quality of Iris’s Bitcoin

 mining operations.

       59.    With respect to Iris’s use of equipment financing agreements to procure

 Bitcoin miners, the 2022 20-F stated, in relevant part:

       We are party to equipment finance and security agreements,
       denominated in US dollars, pursuant to which an equipment financier
       has agreed to finance part of the purchase of various miners that have
       been delivered to us or will be delivered to us. As of June 30, 2022, the
       aggregate amount drawn under the loan facilities was $109.4 million.




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       60.    With specific respect to Iris’s Bitcoin miner equipment financing

 agreements with NYDIG, the 2022 20-F stated, in relevant part:

       The facility established pursuant to this agreement (the “NYDIG
       Facility”) has a contractual term of 25 months and is secured by 19,800
       Bitmain S19j Pro miners (1.98 EH/s), as well as the digital assets mined
       therewith, with an applicable interest rate of 11% per annum. The
       NYDIG Facility is repaid through blended monthly payments of
       principal and interest with the final payment due April 2024. As of June
       30, 2022, the facility was fully utilized with $71.2 million of
       borrowings outstanding.

       The NYDIG Agreement contains customary affirmative and negative
       covenants applicable to the subsidiary borrower, but not to Iris Energy
       Limited. These include restrictions on our ability to incur liens on the
       equipment securing the NYDIG Facility, consummate mergers, dispose
       of all or substantially all of our assets, consummate a change of control,
       make certain payments with respect to our equity interests or make
       certain investments. The NYDIG Agreement also contains customary
       events of default.

       61.    With respect to Iris’s other Bitcoin miner equipment financing

 agreements, the 2022 20-F stated, in relevant part:

       On December 15, 2020 and May 25, 2021, certain wholly-owned
       subsidiaries of Iris Energy Limited entered into master equipment
       finance and security agreements with a certain financier, pursuant to
       which such financier agreed to provide financing (the “Other Financing
       Agreements”).

       Outstanding borrowings are secured by the financed mining units
       purchased with the loans. The loans carry an annual interest rate of 12%
       and are to repaid through monthly payments of interest and principal
       through September 2023. As of June 30, 2022, we had $38.2 million of
       loans outstanding under the facilities.

       The Other Financing Agreements include customary affirmative and
       negative covenants applicable to the subsidiary borrowers, but not to

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       Iris Energy Limited. These include restrictions on our ability to incur
       liens on the equipment securing the loans thereunder, consummate
       mergers, dispose of all or substantially all of our assets or consummate
       a change of control. The Other Financing Agreements also contain
       customary events of default.

       62.    Appended as exhibits to the 2022 20-F were signed certifications

 pursuant to the Sarbanes-Oxley Act of 2002, wherein Defendants D. Roberts, W.

 Roberts, and Nucifora certified that “the [2022 20-F] fully complies with the

 requirements of Section 13(a) or 15(d) of the [Exchange Act]” and that “the

 information contained in the [2022 20-F] fairly presents, in all material respects, the

 financial condition and results of operations of the Company.”

       63.    The statements referenced in ¶¶ 42-62 were materially false and

 misleading because the Exchange Act Defendants made false and/or misleading

 statements, as well as failed to disclose material adverse facts about the Company’s

 business, operations, and prospects. Specifically, the Exchange Act Defendants

 made false and/or misleading statements and/or failed to disclose that: (i) certain of

 Iris’s Bitcoin miners, owned through its Non-Recourse SPVs, were unlikely to

 produce sufficient cash flow to service their respective debt financing obligations;

 (ii) accordingly, Iris’s use of equipment financing agreements to procure Bitcoin

 miners was not as sustainable as Defendants had represented; (iii) the foregoing was

 likely to have a material negative impact on the Company’s business, operations,




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 and financial condition; and (iv) as a result, the Company’s public statements were

 materially false and misleading at all relevant times.

                                 The Truth Emerges

       64.      On November 2, 2022, during pre-market hours, Iris issued a press

 release (the “November 2022 Press Release”), disclosing, inter alia, that “[c]ertain

 equipment (i.e., Bitcoin miners) owned by [Non-Recourse SPV 2 and Non-Recourse

 SPV 3] currently produce insufficient cash flow to service their respective debt

 financing obligations, and have a current market value well below the principal

 amount of the relevant loans” and that “[r]estructuring discussions with the lender

 remain ongoing.”

       65.     With specific respect to each Non-Recourse SPV’s respective

 equipment financing debt obligations, and the inability of Non-Recourse SPV 2 and

 Non-Recourse SPV 3 to produce sufficient cash flow to service those debts, the

 November 2022 Press Release disclosed, in relevant part:

       As at September 30, 2022, the Non-Recourse SPVs had the following
       principal amounts outstanding under their respective limited recourse
       equipment financing facilities:

              Non-Recourse SPV 1 – $1 million, secured against 0.2 EH/s of
               miners.

              Non-Recourse SPV 2 – $32 million, secured against 1.6 EH/s of
               miners.

              Non-Recourse SPV 3 – $71 million, secured against 2.0 EH/s of
               miners.

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                                          ***

       The secured miners owned by each of Non-Recourse SPV 2 and Non-
       Recourse SPV 3 . . . in aggregate:

              Are currently capable of generating an indicative $2 million of
               Bitcoin mining monthly gross profit[], compared to aggregate
               required monthly principal and interest payment obligations of
               $7 million.

              Have a market value which the Company currently estimates to
               be approximately $65 to $70 million[], relative to an aggregate
               $103 million principal amount of loans outstanding as at
               September 30, 2022.

       66.      With specific respect to Iris’s ongoing discussions with the relevant

 lender for Non-Recourse SPV 2’s and Non-Recourse SPV 3’s respective equipment

 financing agreements, the November 2022 Press Release stated, in relevant part:

       Non-Recourse SPV 2 and Non-Recourse SPV 3 are engaged in
       discussions with their lender and reached an agreement for a two-week
       deferral of scheduled principal payments originally due under both
       equipment financing arrangements on October 25, 2022, to November
       8, 2022.

       Unless a suitable agreement is reached with the lender on modified
       terms for both equipment financing arrangements, the Group does not
       intend to provide further financial support to Non-Recourse SPV 2 and
       Non-Recourse SPV 3.

       67.      With respect to Iris’s anticipated default on Non-Recourse SPV 2’s and

 Non-Recourse SPV 3’s respective equipment financing agreements, and the

 corresponding negative impact this would have on Company’s future operations and

 financial results, the November 2022 Press Release stated, in relevant part:


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       In this case, the Company expects that neither of those Non-Recourse
       SPVs will be able to make the scheduled principal payment on
       November 8, 2022, which would result in a default for those Non-
       Recourse SPVs under their respective limited recourse equipment
       financing arrangements.5

       . . . . The [Company] is exploring opportunities to utilize its data center
       capacity that may become available in the event the [Company] elects
       to no longer provide financial support to these financing arrangements
       and the lender forecloses on the equipment owned by the relevant
       special purpose vehicles.

                                         ***
       5
         Such default would permit the lender to declare the entire $103
       million aggregate principal amount of the relevant equipment financing
       facilities to be immediately due and payable by Non-Recourse SPV 2
       and Non-Recourse SPV 3. We expect that Non-Recourse SPV 2 and
       Non-Recourse SPV 3 will not have sufficient funds to repay such
       equipment financing facilities, in which case such lender could enforce
       its security interest and foreclose on the Bitcoin miners owned by Non-
       Recourse SPV 2 and Non-Recourse SPV 3, respectively, which could
       result in the loss of such miners and materially reduce the Company’s
       operating capacity, and could also lead to bankruptcy or liquidation of
       the relevant Non-Recourse SPVs.

       68.   On this news, Iris’s ordinary share price fell $0.51 per share, or 15.04%,

 to close at $2.88 per share on November 2, 2022—a nearly 90% decline from the

 Offering price.

       69.   As of the time this Complaint was filed, Iris’s ordinary shares continue

 to trade significantly below the $28 per share Offering price, damaging investors.




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       70.    As a result of Defendants’ wrongful acts and omissions, and the

 precipitous decline in the market value of the Company’s securities, Plaintiff and

 other Class members have suffered significant losses and damages.

                PLAINTIFF’S CLASS ACTION ALLEGATIONS

       71.    Plaintiff brings this action as a class action pursuant to Federal Rule of

 Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons and

 entities other than Defendants that purchased or otherwise acquired Iris ordinary

 shares pursuant and/or traceable to the Offering Documents issued in connection

 with the IPO, and/or Iris securities during the Class Period; and were damaged

 thereby (the “Class”). Excluded from the Class are Defendants, the officers and

 directors of the Company, at all relevant times, members of their immediate families

 and their legal representatives, heirs, successors, or assigns, and any entity in which

 Defendants have or had a controlling interest.

       72.    The members of the Class are so numerous that joinder of all members

 is impracticable. Throughout the Class Period, Iris securities were actively traded

 on the NASDAQ. While the exact number of Class members is unknown to Plaintiff

 at this time and can be ascertained only through appropriate discovery, Plaintiff

 believes that there are hundreds or thousands of members in the proposed Class.

 Record owners and other members of the Class may be identified from records

 maintained by Iris or its transfer agent and may be notified of the pendency of this



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 action by mail, using the form of notice similar to that customarily used in securities

 class actions.

        73.       Plaintiff’s claims are typical of the claims of the members of the Class

 as all members of the Class are similarly affected by Defendants’ wrongful conduct

 in violation of federal law that is complained of herein.

        74.       Plaintiff will fairly and adequately protect the interests of the members

 of the Class and has retained counsel competent and experienced in class and

 securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

 of the Class.

        75.       Common questions of law and fact exist as to all members of the Class

 and predominate over any questions solely affecting individual members of the

 Class. Among the questions of law and fact common to the Class are:

                  whether the federal securities laws were violated by Defendants’ acts
                   as alleged herein;

                  whether statements made by Defendants to the investing public in the
                   Offering Documents for the IPO, or during the Class Period,
                   misrepresented material facts about the business, operations and
                   management of Iris;

                  whether the Securities Act Individual Defendants negligently
                   prepared the Offering Documents for the IPO and, as a result, the
                   Offering Documents contained untrue statements of material fact or
                   omitted to state other facts necessary to make the statements made not
                   misleading, and were not prepared in accordance with the rules and
                   regulations governing their preparation;



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                 whether the Exchange Act Individual Defendants caused Iris to issue
                  false and misleading financial statements during the Class Period;

                 whether certain Defendants acted knowingly or recklessly in issuing
                  false and misleading financial statements;

                 whether the prices of Iris securities during the Class Period were
                  artificially inflated because of the Defendants’ conduct complained of
                  herein; and

                 whether the members of the Class have sustained damages and, if so,
                  what is the proper measure of damages.

       76.       A class action is superior to all other available methods for the fair and

 efficient adjudication of this controversy since joinder of all members is

 impracticable. Furthermore, as the damages suffered by individual Class members

 may be relatively small, the expense and burden of individual litigation make it

 impossible for members of the Class to individually redress the wrongs done to them.

 There will be no difficulty in the management of this action as a class action.

       77.       Plaintiff will rely, in part, upon the presumption of reliance established

 by the fraud-on-the-market doctrine in that:

                 Defendants made public misrepresentations or failed to disclose
                  material facts during the Class Period;

                 the omissions and misrepresentations were material;

                 Iris securities are traded in an efficient market;

                 the Company’s shares were liquid and traded with moderate to heavy
                  volume during the Class Period;




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                 the Company traded on the NASDAQ and was covered by multiple
                  analysts;

                 the misrepresentations and omissions alleged would tend to induce a
                  reasonable investor to misjudge the value of the Company’s
                  securities; and

                 Plaintiff and members of the Class purchased, acquired and/or sold
                  Iris securities between the time the Defendants failed to disclose or
                  misrepresented material facts and the time the true facts were
                  disclosed, without knowledge of the omitted or misrepresented facts.

       78.       Based upon the foregoing, Plaintiff and the members of the Class are

 entitled to a presumption of reliance upon the integrity of the market.

       79.       Alternatively, Plaintiff and the members of the Class are entitled to the

 presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

 of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as

 Defendants omitted material information in their Class Period statements in violation

 of a duty to disclose such information, as detailed above.

                                         COUNT I

  (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                Thereunder Against the Exchange Act Defendants)

       80.       Plaintiff repeats and re-alleges each and every allegation contained

 above as if fully set forth herein.

       81.       This Count is asserted against the Exchange Act Defendants and is

 based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5

 promulgated thereunder by the SEC.


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       82.       During the Class Period, the Exchange Act Defendants engaged in a

 plan, scheme, conspiracy and course of conduct, pursuant to which they knowingly

 or recklessly engaged in acts, transactions, practices and courses of business which

 operated as a fraud and deceit upon Plaintiff and the other members of the Class;

 made various untrue statements of material facts and omitted to state material facts

 necessary in order to make the statements made, in light of the circumstances under

 which they were made, not misleading; and employed devices, schemes and artifices

 to defraud in connection with the purchase and sale of securities. Such scheme was

 intended to, and, throughout the Class Period, did: (i) deceive the investing public,

 including Plaintiff and other Class members, as alleged herein; (ii) artificially inflate

 and maintain the market price of Iris securities; and (iii) cause Plaintiff and other

 members of the Class to purchase or otherwise acquire Iris securities and options at

 artificially inflated prices. In furtherance of this unlawful scheme, plan and course

 of conduct, the Exchange Act Defendants, and each of them, took the actions set

 forth herein.

       83.       Pursuant to the above plan, scheme, conspiracy, and course of conduct,

 each of the Exchange Act Defendants participated directly or indirectly in the

 preparation and/or issuance of the quarterly and annual reports, SEC filings, press

 releases and other statements and documents described above, including statements

 made to securities analysts and the media that were designed to influence the market



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 for Iris securities. Such reports, filings, releases and statements were materially false

 and misleading in that they failed to disclose material adverse information and

 misrepresented the truth about Iris’s finances and business prospects.

        84.     By virtue of their positions at Iris, the Exchange Act Defendants had

 actual knowledge of the materially false and misleading statements and material

 omissions alleged herein and intended thereby to deceive Plaintiff and the other

 members of the Class, or, in the alternative, the Exchange Act Defendants acted with

 reckless disregard for the truth in that they failed or refused to ascertain and disclose

 such facts as would reveal the materially false and misleading nature of the

 statements made, although such facts were readily available to the Exchange Act

 Defendants.     Said acts and omissions of the Exchange Act Defendants were

 committed willfully or with reckless disregard for the truth. In addition, each of the

 Exchange Act Defendants knew or recklessly disregarded that material facts were

 being misrepresented or omitted as described above.

        85.    Information showing that the Exchange Act Defendants acted

 knowingly or with reckless disregard for the truth is peculiarly within the Exchange

 Act Defendants’ knowledge and control. As the senior managers and/or directors of

 Iris, the Exchange Act Individual Defendants had knowledge of the details of Iris’s

 internal affairs.




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       86.    The Exchange Act Individual Defendants are liable both directly and

 indirectly for the wrongs complained of herein. Because of their positions of control

 and authority, the Exchange Act Individual Defendants were able to and did, directly

 or indirectly, control the content of the statements of Iris. As officers and/or

 directors of a publicly-held company, the Exchange Act Individual Defendants had

 a duty to disseminate timely, accurate, and truthful information with respect to Iris’s

 businesses, operations, future financial condition, and future prospects. As a result

 of the dissemination of the aforementioned false and misleading reports, releases

 and public statements, the market price of Iris securities was artificially inflated

 throughout the Class Period. In ignorance of the adverse facts concerning Iris’s

 business and financial condition which were concealed by the Exchange Act

 Defendants, Plaintiff and the other members of the Class purchased or otherwise

 acquired Iris securities at artificially inflated prices and relied upon the price of the

 securities, the integrity of the market for the securities and/or upon statements

 disseminated by the Exchange Act Defendants, and were damaged thereby.

       87.    During the Class Period, Iris securities were traded on an active and

 efficient market. Plaintiff and the other members of the Class, relying on the

 materially false and misleading statements described herein, which the Exchange

 Act Defendants made, issued or caused to be disseminated, or relying upon the

 integrity of the market, purchased or otherwise acquired shares of Iris securities at



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 prices artificially inflated by the Exchange Act Defendants’ wrongful conduct. Had

 Plaintiff and the other members of the Class known the truth, they would not have

 purchased or otherwise acquired said securities, or would not have purchased or

 otherwise acquired them at the inflated prices that were paid. At the time of the

 purchases and/or acquisitions by Plaintiff and the Class, the true value of Iris

 securities was substantially lower than the prices paid by Plaintiff and the other

 members of the Class. The market price of Iris securities declined sharply upon

 public disclosure of the facts alleged herein to the injury of Plaintiff and Class

 members.

       88.   By reason of the conduct alleged herein, the Exchange Act Defendants

 knowingly or recklessly, directly or indirectly, have violated Section 10(b) of the

 Exchange Act and Rule 10b-5 promulgated thereunder.

       89.   As a direct and proximate result of the Exchange Act Defendants’

 wrongful conduct, Plaintiff and the other members of the Class suffered damages in

 connection with their respective purchases, acquisitions, and sales of the Company’s

 securities during the Class Period, upon the disclosure that the Company had been

 disseminating misrepresented financial statements to the investing public.




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                                       COUNT II

   (Violations of Section 20(a) of the Exchange Act Against the Exchange Act
                             Individual Defendants)

       90.    Plaintiff repeats and re-alleges each and every allegation contained in

 the foregoing paragraphs as if fully set forth herein.

       91.    During the Class Period, the Exchange Act Individual Defendants

 participated in the operation and management of Iris, and conducted and

 participated, directly and indirectly, in the conduct of Iris’s business affairs. Because

 of their senior positions, they knew the adverse non-public information about Iris’s

 misstatement of income and expenses and false financial statements.

       92.    As officers and/or directors of a publicly owned company, the

 Exchange Act Individual Defendants had a duty to disseminate accurate and truthful

 information with respect to Iris’s financial condition and results of operations, and

 to correct promptly any public statements issued by Iris which had become

 materially false or misleading.

       93.    Because of their positions of control and authority as senior officers,

 the Exchange Act Individual Defendants were able to, and did, control the contents

 of the various reports, press releases and public filings which Iris disseminated in

 the marketplace during the Class Period concerning Iris’s results of operations.

 Throughout the Class Period, the Exchange Act Individual Defendants exercised

 their power and authority to cause Iris to engage in the wrongful acts complained of

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 herein. The Exchange Act Individual Defendants, therefore, were “controlling

 persons” of Iris within the meaning of Section 20(a) of the Exchange Act. In this

 capacity, they participated in the unlawful conduct alleged which artificially inflated

 the market price of Iris securities.

       94.    Each of the Exchange Act Individual Defendants, therefore, acted as a

 controlling person of Iris. By reason of their senior management positions and/or

 being directors of Iris, each of the Exchange Act Individual Defendants had the

 power to direct the actions of, and exercised the same to cause, Iris to engage in the

 unlawful acts and conduct complained of herein.          Each of the Exchange Act

 Individual Defendants exercised control over the general operations of Iris and

 possessed the power to control the specific activities which comprise the primary

 violations about which Plaintiff and the other members of the Class complain.

       95.    By reason of the above conduct, the Exchange Act Individual

 Defendants are liable pursuant to Section 20(a) of the Exchange Act for the

 violations committed by Iris.

                                        COUNT III

     (Violations of Section 11 of the Securities Act Against the Securities Act
                                    Defendants)

       96.    Plaintiff repeats and incorporates each and every allegation contained

 above as if fully set forth herein, except any allegation of fraud, recklessness, or

 intentional misconduct.


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       97.    This Count is brought pursuant to Section 11 of the Securities Act, 15

 U.S.C. § 77k, on behalf of the Class, against Defendants.

       98.    The Offering Documents for the IPO were inaccurate and misleading,

 contained untrue statements of material facts, omitted to state other facts necessary

 to make the statements made not misleading, and omitted to state material facts

 required to be stated therein.

       99.    Iris is the registrant for the IPO. Defendants named herein were

 responsible for the contents and dissemination of the Offering Documents.

       100. As issuer of the shares, Iris is strictly liable to Plaintiff and the Class

 for the misstatements and omissions in the Offering Documents.

       101. None of the Defendants named herein made a reasonable investigation

 or possessed reasonable grounds for the belief that the statements contained in the

 Offering Documents were true and without omissions of any material facts and were

 not misleading.

       102. By reasons of the conduct herein alleged, each Defendant violated,

 and/or controlled a person who violated Section 11 of the Securities Act.

       103. Plaintiff acquired Iris shares pursuant and/or traceable to the Offering

 Documents for the IPO.




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       104. Plaintiff and the Class have sustained damages. The value of Iris

 ordinary shares has declined substantially subsequent to and because of Defendants’

 violations.

                                     COUNT IV

     (Violations of Section 15 of the Securities Act Against the Securities Act
                              Individual Defendants)

       105. Plaintiff repeats and incorporates each and every allegation contained

 above as if fully set forth herein, except any allegation of fraud, recklessness, or

 intentional misconduct.

       106. This Count is asserted against the Securities Act Individual Defendants

 and is based upon Section 15 of the Securities Act, 15 U.S.C. § 77o.

       107. The Securities Act Individual Defendants, by virtue of their offices,

 directorship, and specific acts were, at the time of the wrongs alleged herein and as

 set forth herein, controlling persons of Iris within the meaning of Section 15 of the

 Securities Act.   The Securities Act Individual Defendants had the power and

 influence and exercised the same to cause Iris to engage in the acts described herein.

       108. The Securities Act Individual Defendants’ positions made them privy

 to and provided them with actual knowledge of the material facts concealed from

 Plaintiff and the Class.




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       109. By virtue of the conduct alleged herein, the Securities Act Individual

 Defendants are liable for the aforesaid wrongful conduct and are liable to Plaintiff

 and the Class for damages suffered.

                              PRAYER FOR RELIEF

 WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.     Determining that the instant action may be maintained as a class action

 under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

 Class representative;

       B.     Requiring Defendants to pay damages sustained by Plaintiff and the

 Class by reason of the acts and transactions alleged herein;

       C.     Awarding Plaintiff and the other members of the Class prejudgment and

 post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and

 other costs; and

       D.     Awarding such other and further relief as this Court may deem just and

 proper.

                         DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

 Dated: December 14, 2022               Respectfully submitted,

                                        POMERANTZ LLP

                                        /s/ Thomas H. Przybylowski
                                        Thomas H. Przybylowski


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                                                  CERTIFICATION PURSUANT
                                                TO FEDERAL SECURITIES LAWS


                     1.           Scott Sterling
                              I, __________________________________________, make this declaration pursuant to

            Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section 21D(a)(2) of the Securities

            Exchange Act of 1934 (“Exchange Act”) as amended by the Private Securities Litigation Reform Act of

            1995.

                     2.       I have reviewed a Complaint against Iris Energy Limited (“Iris” or the “Company”) and

            authorize the filing of a comparable complaint on my behalf.

                     3.       I did not purchase or acquire Iris securities at the direction of plaintiffs’ counsel or in order

            to participate in any private action arising under the Securities Act or Exchange Act.

                     4.       I am willing to serve as a representative party on behalf of a Class of investors who

            purchased or otherwise acquired Iris securities pursuant and/or traceable to the Registration Statement

            issued in connection with the Company’s IPO, as specified in the Complaint, including providing testimony

            at deposition and trial, if necessary. I understand that the Court has the authority to select the most adequate

            lead plaintiff in this action.

                     5.       The attached sheet lists all of my transactions in Iris securities pursuant and/or traceable to

            the Registration Statement issued in connection with the Company’s IPO, as specified in the Complaint.

                     6.       During the three-year period preceding the date on which this Certification is signed, I have

            not served or sought to serve as a representative party on behalf of a class under the federal securities laws.

                     7.       I agree not to accept any payment for serving as a representative party on behalf of the

            class as set forth in the Complaint, beyond my pro rata share of any recovery, except such reasonable costs

            and expenses directly relating to the representation of the class as ordered or approved by the Court.
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                     8.      I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.




                      12/13/2022
            Executed _____________________________
                          (Date)



                                                             _______________________________________
                                                                    (Signature)


                                                              Scott Sterling
                                                             _______________________________________
                                                                    (Type or Print Name)
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  Iris Energy Limited (IREN)                                                             Scott Sterling

                                           List of Purchases and Sales

       Transaction                                         Number of               Price Per
          Type                   Date                      Shares/Unit            Share/Unit

        Purchase                2/7/2022                       50                  $13.7900
        Purchase               2/10/2022                       60                  $13.8400
        Purchase               3/31/2022                       40                  $15.8000
